                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

LADONNA NEWTON, Individually and
on Behalf of All Others,
                                                       Case No. 2:16-cv-4077
              Plaintiff,
v.

A-1 PREMIUM ACCEPTANCE, INC.,
d/b/a KING OF KASH

              Defendant.


                                   NOTICE OF REMOVAL

       Defendant A-1 Premium Acceptance, Inc. (“Defendant”), by and through undersigned

counsel, pursuant to 28 U.S.C. § 1331 (federal question jurisdiction), 28 U.S.C. § 1441

(removal), and Western District Local Rule 3.1, hereby removes this case from the Circuit Court

of Cole County, Missouri to the United States District Court for the Western District of Missouri,

Central Division. In support of said removal, Defendant A-1 Premium Acceptance, Inc., states

as follows:



       1.      On or about February 3, 2016, Plaintiff filed an action in the Circuit Court of Cole

County, Missouri, captioned Ladonna Newton, Individually And On Behalf Of All Others v. A-1

Premium Acceptance, Inc., Case No. 16AC-CC00040. All documents served upon Defendant in

the state court action are attached hereto. (Exhibit A, Summons and Complaint.)



       2.      Defendant received Plaintiff’s initial pleading through service or otherwise on

February 4, 2016. Defendant’s thirty (30) day deadline to answer or remove this action falls on
Saturday, March 5, 2016. See 28 U.S.C. § 1446(b). As that deadline falls on a weekend,

Defendant’s deadline is automatically extended to Monday, March 7, 2016, pursuant to Fed. R.

Civ. P. 6(a), as that is the first date that does not fall on a weekend or a federal holiday. Thus,

Defendant’s deadline to remove this action has not yet expired.



       3.      This Notice of Removal is filed within the time period authorized by 28 U.S.C.

§ 1446(b). (Exhibit B, Civil Cover Sheet attached hereto.)



       4.      Plaintiff is alleged to be a resident of Kansas City, Missouri. (See Exhibit A,

Complaint, at ¶ 14.)



       5.      Defendant is a Missouri corporation in good standing doing business in Missouri.

(See Exhibit A, Complaint, at ¶ 15.)



       6.      There are no other Defendants to this action.



       7.      Plaintiff alleges that Defendant has violated provisions of the Fair Credit

Reporting Act (“FCRA”), 15 U.S.C. § 1681, et seq., by (1) failing to provide the Plaintiff with a

clear and concise disclosure in writing in a document that consisted solely of the disclosures that

a consumer report may be obtained for employment purposes; (2) knowingly using a disclosure

form to obtain a consumer report on Plaintiff that contains extraneous information in violation of

the FCRA; and (3) failing to provide a copy of the consumer report to Plaintiff and/or a written




                                                  2
description of his rights under the FCRA to cure inaccuracies within the consumer report. (See

generally Exhibit A, Complaint.)



        8.     Plaintiff also seeks to assert claims for the alleged violations of the FCRA on a

class basis, proposing the creation of two classes consisting, respectively, of:

               Proposed Adverse Action Class: All employees or prospective
               employees of Defendant in the United States that suffered an
               adverse employment action on or after January 28, 2014, that was
               based, in whole or in part, on information contained in a consumer
               report, and who were not provided a copy of such report, a
               reasonable notice period in which to challenge any inaccuracy in
               the consumer report, and/or a written description of their rights in
               accordance with the FCRA in advance of said employment action.

        and

               Proposed Improper Disclosure Class: All employees or
               prospective employees of the Defendant in the United States who
               were subject of a consumer report that was sought by the
               Defendant on or after February 3, 2014, and who executed the
               Defendant’s standard form to procure a consumer report.

(See Exhibit A, Complaint, at ¶¶ 49-50.)



        9.     By requesting relief for alleged violations of the FCRA, Plaintiff’s Complaint

raises claims under federal statutory law, and constitute “federal questions” over which this

Court has original jurisdiction pursuant to 28 U.S.C. § 1331, and which may be removed to this

Court under 28 U.S.C. § 1441(a), pursuant to the procedures provided by Section 28 U.S.C. §

1446.



        10.    There are no other matters pending in state court that this Court will be required

to resolve in conjunction with the removal of this matter.



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       11.     Pursuant to 28 U.S.C. § 1441, 28 U.S.C. § 1446(a), and Local Rule 3.1(a), this

action may be removed by the Defendant to the United States District Court for the Western

District of Missouri, Central Division, as it is the Division embracing the Circuit Court of Cole

County, Missouri, where this action was originally filed.



       12.     Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice of

Removal has been served upon Plaintiff and Defendant has timely filed a copy of this Notice of

Removal with the Clerk of the Court for the Circuit Court of Cole County, Missouri.



       Wherefore, Defendant A-1 Premium Acceptance, Inc., respectfully requests that the

above-referenced state court action be removed from the Circuit Court of Cole County, Missouri,

to this Court, that the Court accept jurisdiction of this case, and that the Court grant such other

relief as this Defendant may show itself entitled that is consistent with said removal that the

Court deems to be reasonable, appropriate, and just.




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                                             Respectfully submitted,

                                             Case Linden P.C.


                                             s/ Patric S. Linden
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                                             Inc.

                                     Certificate of Service

        I hereby certify that on March 4, 2016, a true and correct copy of the above and foregoing
was filed in the Court’s electronic filing system and that copies of same were served on said date
by email and by depositing one copy in the U.S. mail, first class postage prepaid, addressed to:

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                                                    s/ Patric S. Linden
                                                    Patric S. Linden




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